              Case 3:19-cv-05798-RBL Document 15 Filed 10/02/19 Page 1 of 3




 1                                                             Honorable Ronald B. Leighton

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 7                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WASHINGTON
 8
     DOUGLAS FERRIE, an individual
 9                                                    Case No. 3:19-cv-05798-RBL
                                         Plaintiff,
10                                                    NOTICE OF APPEARANCE
             v.
11                                                    (Clerk’s Action Required)
     WOODFORD RESEARCH, LLC, a Kentucky
12   limited liability company; HUBERT SENTERS,
     an individual; ROSS GIVENS, an individual;
13   JARED CARTER, an individual; DPT
     INNOVATIONS LLC d/b/a
14
     ARBITRAGING.CO, a foreign company;
15   DAVID PETERSON a/k/a JEREMEY
     ROUNSVILLE, an individual; HORIZON
16   TRUST COMPANY, LLC, a foreign limited
     liability company; GREG HERLEAN, an
17   individual; DANIEL ENSIGN, an individual;
     INFOGENESIS CONSULTING GROUP, LLC,
18
     a Nevada limited liability company; KURT F.
19   WEINRICH, SR., an individual,

20                                     Defendants.
21

22   TO: CLERK OF THE COURT; and
23   TO: DEFENDANTS, AND ALL COUNSEL OF RECORD
24           PLEASE TAKE NOTICE that Aaron E. Millstein and Daniel-Charles V. Wolf of the
25

26

                                                                                K&L GATES LLP
     NOTICE OF APPEARANCE - 1                                            925 FOURTH AVENUE, SUITE 2900
                                                                        SEATTLE, WASHINGTON 98104-1158
     Case No. 3:19-cv-05798-RBL                                             TELEPHONE: (206) 623-7580
     502516557 v1         10/02/2019                                         FACSIMILE: (206) 623-7022
              Case 3:19-cv-05798-RBL Document 15 Filed 10/02/19 Page 2 of 3




 1   firm K&L Gates LLP, without waiving objections as to improper service or jurisdiction, enter

 2   their appearance in the above-entitled action on behalf of Woodford Research, LLC

 3   (“Woodford”), Hubert Senters, Karen Arvin, Ross Givens, and Jared Carter (the “Woodford

 4   Defendants”).

 5           You are hereby requested to serve all further papers and proceedings in said cause,

 6   except original process, on the attorneys listed at the addresses below stated.

 7   Dated: October 2, 2019

 8

 9                                                     s/ Aaron E. Millstein
                                                       Aaron Millstein, WSBA # 44135
10
                                                       s/ Daniel-Charles V. Wolf
11                                                     Daniel-Charles V. Wolf, WSBA # 48211

12                                                     K&L Gates LLP
                                                       925 4th Avenue, Suite 2900
13                                                     Seattle, WA 98104-1158
                                                       Telephone: (206) 623-7580
14                                                     Facsimile: (206) 623-7022
                                                       Email:     aaron.millstein@klgates.com
15                                                                dc.wolf@klgates.com
16                                                     Attorneys for Woodford Defendants

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                                                                                        K&L GATES LLP
     NOTICE OF APPEARANCE - 2                                                    925 FOURTH AVENUE, SUITE 2900
                                                                                SEATTLE, WASHINGTON 98104-1158
     Case No. 3:19-cv-05798-RBL                                                     TELEPHONE: (206) 623-7580
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              Case 3:19-cv-05798-RBL Document 15 Filed 10/02/19 Page 3 of 3




 1                         CERTIFICATE OF ECF FILING AND SERVICE

 2
     I certify that on October 2, 2019, I arranged for electronic filing of the foregoing document
 3   with the Clerk of the Court using the CM/ECF system, which will send notification of such
     filing to all parties of record.
 4

 5
                                                      s/ Aaron E. Millstein
 6                                                    Aaron Millstein, WSBA # 44135

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                                                                                       K&L GATES LLP
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     502516557 v1          10/02/2019                                               FACSIMILE: (206) 623-7022
